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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 Dale Ylitalo and R4 Construction,
 LLC, individually and on behalf of all
 others similarly situated,
                                            CASE.: 2:24-CV-00055-SPC-NPM
      Plaintiffs,

 v.

 Automatic Data Processing, Inc.,
 and American Century Investments
 Services, Inc.,

      Defendants.

                      PLAINTIFFS’ NOTICE OF
              VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiffs Dale Ylitalo and R4 Construction, LLC, individually and

 on behalf of all others similarly situated, pursuant to Fed. R. Civ. P. 41

 voluntarily dismiss this case without prejudice. Defendants have not yet

 filed answers or motions for summary judgment in this case. Fed. R. Civ.

 P. 41(a)(1). Nor has the Court certified the proposed class in this case. Id.;

 Fed. R. Civ. P. 23(e). Therefore, Plaintiffs may dismiss this action without

 a court order. Fed. R. Civ. P. 41(a)(1).



Date: April 23, 2024
                                                /s/ Jessica A. Wilkes

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 23, 2024, a copy of the foregoing pleading was

filed electronically with the Clerk of Court to be served by operation of the court’s

electronic filing system to all counsel of record.


                                                 /s/ Jessica A. Wilkes




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